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                                                                             APR 26 2016
 I LAURA E. DUFFY                                                       CLERK us lJlSTRIC l COURT
   United States Attorney                                            SOUTHERN DISTRICT OF CALIFORNIA
 2 MEGHAN E. HEESCH                                                  BY                      DEPUTY
   Assistant United States Attorney
 3 Minnesota Bar No. 0395912
   Federal Office Building
 4 880 Front Street Room 6293
   San Diego, California 92101-8893
 5 Telephone: (619) 546-9442
 6 Attorney for Plaintiff
   United States of America
 7
                           UNITED STATES DISTRICT COURT
 8
                          SOUTHERN DISTRICT OF CALIFORNIA
 9
      UNITED STATES OF AMERICA,                          Criminal Case No. 16CR0559-GPC
10
                 Plaintiff,                              PROTECTIVE ORDER
II
       v.
12
13 LOUIGIE ALEXANDRO CASTILLO (3),
14~______~D~e~re~n~d~a~nt~.______________~

15
           Pursuant to Rule 16(d) of the Federal Rules of Criminal Procedure pertaining to
16 pretrial discovery, and to prevent premature disclosure of evidence to other targets,
17 subjects, and witnesses of ongoing investigations,
18
         IT IS HEREBY ORDERED that the defendant, counsel of record, and the
19 counsel's assistants, as hereafter defined, shall not disclose the substance of any
2~, discovery material received from the Government in the above-captioned matter,
21~\ including all Title III documents, to any third party, unless such material is already a
2~,' matter of public record, without prior approval ofthis Court;
23         Pursuant to Rule 16(d) of the Federal Rules of Criminal Procedure,
24
           IT IS FURTHER ORDERED that the United States Attorney and the Assistant
25 United States Attorney assigned to this case (hereafter collectively referred to as "the
26 Government") and their assistants, the defendant, counsel of record and counsel's
27 assistants, shall not disclose the substance of any discovery material produced to the
28 defendant or obtained by the Government from the defendant, unless such material is
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 1 already a matter of public record, to representatives ofthe media or other third parties not
 2 involved in any way in the investigation or prosecution of the case;
 3         Except that nothing contained herein shall prevent the Government, or any
 4 defendant or counsel of record, from disclosing such discovery material to any other
 5 attorneys working for the Government, the defendant or counsel of record, government
 6 agents (federal, state or local), private investigators, experts, secretaries, law clerks,
 7 paralegals, or any other person who is working for the Government or the defendant and
 8 counsel of record (collectively referred to as "assistants") in the investigation or
 9 preparation of this case or, with respect to the Government and its assistants only, in
10 other criminal investigations, without prior court order;
11         Further, nothing contained herein shall preclude the Government, defendant or
12 counsel of record, or respective assistants from conducting a normal investigation of the
13 facts of this case on behalf of the Government or said defendant, or with respect to the
14 Government and its assistants only, from conducting an investigation of other criminal
15 activity, including interviewing witnesses disclosed by said discovery materials, or from
16 taking statements from witnesses disclosed by said discovery materials, or from asking
17 said witnesses if they themselves have made prior statements to the Government that are
18 disclosed in the discovery materials, and about the contents of such statements.           In
19 connection with any such investigation, it shall not be necessary that the Government, the
20 defendant or counsel of record, or counsel's respective assistants, obtain prior permission
21   ofthis Court.
22         Should counsel withdraw or be disqualified from participation in this case, any
23 material received and any copies derived therefrom, shall be returned to the Government
24 within ten (10) days.
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 1         Defense counsel and the Government shall be required to communicate the
 2 substance of this order and explain it to the client and assistants before disclosing the
 3 substance of the discovery to the client or assistants.
 4 SO ORDERED.
 5 DATED:            '-IILL--        ,2016
 6                                                HON. GONZALO P. CURIEL
                                                  United States District Judge
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 I         I consent to the entry of the attached protective order in the case of United States v.
 2 Kristian Nevarez, et aI., Criminal Case No.16cr0559-GPC.
 3
 4
           DATE:       .-+IO-.d Id.G\\J                ~
                                                   MEGHAN<HEESciI
                                                   Assistant United States Attorney
 5
 6         DATE: ___t~!~¢~~/~/~~          ___     '~n"
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